Case 2:18-mc-00125 Document 1-2 Filed 09/14/18 Page 1 of 54 Page ID #:16




      EXHIBIT 1
   Case 2:18-mc-00125 Document 1-2 Filed 09/14/18 Page 2 of 54 Page ID #:17
                                                                                                       Nicholas B. Clifford, Jr.


                                                             EXHIBIT 1                                 Direct T 314.259.4711 F 314.612.2217

                                                                                                       nclifford@armstrongteasdale.com




May 15, 2018
        2


IP-Echelo
        on Pty, Ltd.
7083 Holllywood Blvd d., 1st Floor
Los Angeles, CA 9002 28

Re:          UMG Recorddings, Inc. et
                                   e al v. Grand
                                               de Communiications Netw  works LLC ett al.
             Case No. 1:17-cv-365-LY, USDC, Western
                                              W      Distrrict of Texass

To Whom It May Concern:

Enclosed is a subpoen na requiring IP-Echelon Pty,
                                                P Ltd. to pproduce docuuments and aappear for a
depositioon in connecttion with thee case styled UMG Recorddings, Inc. ett al. v. Grandde
Communiications Netw  works LLC et al., currentlly pending inn the U.S. Disstrict Court ffor the Westeern
District of Texas. Also
                      o enclosed iss a copy of th
                                                he Court’s Prootective Ordeer, which govverns the
disclosurre of confiden
                      ntial informaation producced in the casse.

Please co                                                                             n of documents
         ontact me at your earliestt conveniencce to discuss a plan for thhe production
and, if neecessary, to coordinate
                       c          a mutually ag
                                              greeable timee and place ffor the depossition.

Thank you.

Very trulyy yours,




Nicholas B. Clifford, Jr.
                      J

Enclosurees




ARMSTRONG TEA
            ASDALE LLP   770                  UITE 1800, ST. LOUIS, MO 63105 T 314.6221.5070 F 314.621. 5065
                           00 FORSYTH BLVD., SU                                                                                    ArmstrongTeasd
                                                                                                                                                dale.com

                                                                                                                                                      5
             Case 2:18-mc-00125 Document 1-2 Filed 09/14/18 Page 3 of 54 Page ID #:18
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                           Western District of __________
                                                       __________              Texas

                 UMG Recordings Inc. et al.                                    )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      1:17-cv-00365-LY
       Grande Communications Networks LLC et al.                               )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                            IP-Echelon Pty, Ltd., 7083 Hollywood Blvd., 1st Floor, Los Angeles, CA 90028

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Testimony:   YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:
                                           See Attachment A, attached hereto.


 Place: Barkley Court Reporters                                                        Date and Time:
           1875 Century Park East, Suite 700                                                             06/15/2018 9:00 am
           Los Angeles, CA 90067

          The deposition will be recorded by this method:                     certified court reporter; video

       ✔
       u Production:    You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:
                       See Attachment B. Please produce all documents to undersigned counsel no later than June 1, 2018.




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        05/15/2018
                                   CLERK OF COURT
                                                                                         OR
                                                                                                             /s/ Nicholas B. Clifford
                                           Signature of Clerk or Deputy Clerk                                   Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Grande Communications Networks LLC                                      , who issues or requests this subpoena, are:
N. Clifford, 7700 Forsyth Blvd Ste 1800, St Louis MO 63105; nclifford@armstrongteasdale.com; 314-259-4711

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                                                        6
              Case 2:18-mc-00125 Document 1-2 Filed 09/14/18 Page 4 of 54 Page ID #:19
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 1:17-cv-00365-LY

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:




                                                                                                                             7
              Case 2:18-mc-00125 Document 1-2 Filed 09/14/18 Page 5 of 54 Page ID #:20

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                                                                                                                         8
  Case 2:18-mc-00125 Document 1-2 Filed 09/14/18 Page 6 of 54 Page ID #:21



                                        ATTACHMENT A

                                          DEFINITIONS

          1.   “IP-Echelon,” “you,” and “your” refers to IP-Echelon Pty, Ltd., its parents,

subsidiaries, divisions, predecessors, successors, affiliates, and any present or former agent,

employee, representative, director, officer, or any other person acting or purporting to act on its

behalf.

          2.   “Grande” means Grande Communications Networks LLC, and any subsidiary,

predecessors, successors, affiliates, any present or former agent, employee, representative,

director, officer, or any other person acting or purporting to act on its behalf.

          3.   “Patriot” means Patriot Media Consulting, LLC, and any subsidiary, predecessors,

successors, affiliates, any present or former agent, employee, representative, director, officer, or

any other person acting or purporting to act on its behalf.

          4.   “Universal Plaintiffs” means the following entities: UMG Recordings, Inc.,

Capitol Records, LLC, Capitol Christian Music, Group, Inc. Fonovisa, Inc., Roc-A-Fella

Records, LLC, and Tooth & Nail, LLC), and any subsidiary, predecessors, successors, and

affiliates, and any present or former agent, employee, representative, director, officer, or any

other person acting or purporting to act on behalf of any of the Universal Plaintiffs.

          5.   “Sony Plaintiffs” means the following entities: Sony Music Entertainment, Arista

Records LLC, Arista Music, LaFace Records LLC, and Zomba Recording LLC, and any

subsidiary, predecessors, successors, and affiliates, and any present or former agent, employee,

representative director, office, or any other person acting or purporting to act on behalf of any of

the Sony Plaintiffs.

          6.   “Warner Plaintiffs” means the following entities: Warner Bros. Records Inc.,




                                                                                                       9
   Case 2:18-mc-00125 Document 1-2 Filed 09/14/18 Page 7 of 54 Page ID #:22



Atlantic Recording Corporation, Elektra Entertainment Group Inc., Fueled by Ramen LLC,

Nonesuch Records Inc., Rhino Entertainment Company, Roadrunner Records, Inc., and any

subsidiary, predecessors, successors, and affiliates, and any present or former agent, employee,

representative director, office, or any other person acting or purporting to act on behalf of any of

the Warner Plaintiffs.

        7.     “Plaintiffs” refers to any individual entity or any combination of the entities

included in the Universal Plaintiffs, the Sony Plaintiffs, and/or the Warner Plaintiffs.

        8.     “Complaint” means the Complaint (attached as Exhibit 1 to this subpoena) filed in

this action.

        9.     “And” and “or” shall be construed disjunctively or conjunctively, as necessary, so

as to have the broadest possible meaning.

        10.    Where appropriate, the singular form of a word shall be interpreted in the plural,

and vice versa, to have the broadest possible meaning.

        11.    “Including” shall be given its broad, natural meaning, and shall not be interpreted

as limiting.

        12.     “Document” means any writing or other record in any form, electronic or hard

copy, and includes all items contemplated within Rule 34 of the Federal Rules of Civil

Procedure, including without limitation writings, drawings, graphs, charts, photographs,

phonorecords, emails, and other data compilations from which information can be obtained,

translated, if necessary, by the respondent through detection devices into reasonable usable form,

as broadly construed.

        13.    “ISP” means any business or organization that is an internet service provider.

        14.    “BitTorrent” means the BitTorrent communications protocol for peer-to-peer file




                                                  2
                                                                                                   10
  Case 2:18-mc-00125 Document 1-2 Filed 09/14/18 Page 8 of 54 Page ID #:23



sharing used to distribute data and electronic files over the internet.

          15.   “Peer-to-Peer” means computer networks in which each computer can act as a

server for others, allowing shared access to files and peripherals without the need for a central

server.

          16.   “Grande Subscriber” means any account holder or subscriber of internet services

provided by Grande.

          17.   “IP-Echelon System” means the technological system that IP-Echelon uses to

monitor and extract information from Peer-to-Peer file sharing networks, as well as send notices

of alleged infringement to internet services providers.

          18.   “IP-Echelon Notice” mean the notices sent by IP-Echelon to an ISP identifying

instances of alleged infringement of copyrighted works committed by a subscriber of the ISP.

          19.   “RIAA” means Recording Industry Association of America, and any subsidiary,

predecessors, successors, affiliates, any present or former agent, employee, representative,

director, officer, or any other person acting or purporting to act on its behalf.

                                 MATTERS FOR EXAMINATION

          1.    The processes, procedures, and methods by which IP-Echelon monitors Peer-to-

Peer file sharing networks in order to identify alleged infringers of copyrighted works, including

through use and operation of the IP-Echelon System or any third-party software.

          2.    The capabilities and functionality of the IP-Echelon System related to monitoring

and detecting Peer-to-Peer file sharing activity associated with a particular internet subscriber

and a particular ISP, including but not limited to the ability to identify an internet subscriber that

has downloaded a copyrighted work and subsequently provide a IP-Echelon Notice to the ISP

that provides internet service to that same internet subscriber.




                                                  3
                                                                                                    11
  Case 2:18-mc-00125 Document 1-2 Filed 09/14/18 Page 9 of 54 Page ID #:24



       3.      The considerations that informed IP-Echelon’s decision(s) to send and continue

sending IP-Echelon Notices to Grande.

       4.      The considerations and negotiations that resulted in IP-Echelon associating with

the RIAA and/or its members for purposes of sending IP-Echelon Notices to Grande.

       5.      IP-Echelon’s knowledge regarding Grande and/or Patriot’s alleged liability for

acts of copyright infringement by Grande Subscribers.

       6.      The development, testing, and evaluation of the software that embodies the IP-

Echelon System.

       7.      The basis for IP-Echelon’s assertion(s) that a particular Grande Subscriber has

committed copyright infringement or infringed one of the copyrighted works belonging to an

RIAA member.

       8.      Any values, conditions, or other quantifiable measures that the IP-Echelon System

detects or utilizes in order to identify an alleged infringer or send a IP-Echelon Notice.

       9.      IP-Echelon’s knowledge of actual, potential, or alleged flaws, weaknesses,

deficiencies, inefficiencies, errors, lack or absence of features or functionality, performance

issues, modifications or improvements needed, or any other problem associated with the IP-

Echelon System and IP-Echelon Notices, including but not limited to the IP-Echelon System’s

ability to detect and identify activity associated with copyright infringement.

       10.     IP-Echelon’s knowledge of IP-Echelon Notices that were inaccurate, incomplete,

or otherwise improperly sent to a recipient ISP.

       11.     IP-Echelon’s receipt of communications from ISPs identifying legal and/or factual

issues with IP-Echelon Notices and/or the IP-Echelon System.




                                                   4
                                                                                                  12
  Case 2:18-mc-00125 Document 1-2 Filed 09/14/18 Page 10 of 54 Page ID #:25



        12.     IP-Echelon’s actions or efforts to address, attend to, or remedy actual, potential, or

alleged issues or problems with the IP-Echelon System or IP-Echelon Notices.

        13.     All business relationships and associations between IP-Echelon and any of the

Plaintiffs.

        14.     All business relationships and associations between IP-Echelon and the RIAA.

        15.     The compensation, remuneration, or other forms of payment that IP-Echelon has

received or is entitled to receive, if any, directly or indirectly in conjunction with a legal

proceeding against Grande and/or Patriot.

        16.     All communications between IP-Echelon and TorrentFreak.com (including but not

limited to Ernesto Van der Sar) regarding fake or spoofed infringement notices, including those

reflected in the June 24, 2016 article (https://torrentfreak.com/piracy-phishing-scam-targets-u-s-

isps-subscribers-160624/), attached as Exhibit 1 hereto.

        17.     IP-Echelon’s knowledge of fake or spoofed infringement notices, including but

not limited to fake or spoofed IP-Echelon Notices such as the notice reflected in Exhibit 1, and

any investigation(s) into such notices.

        18.     IP-Echelon’s use of digital signatures using the PGP protocol on IP-Echelon

Notices and the reasons for their use, including but not limited to the statement in Exhibit 1 (“IPE

notices are signed with PGP for ISPs to check authenticity”).

        19.     The substance of the documents produced in response to Attachment B.

        20.     The efforts and actions taken by IP-Echelon in order to identify and locate

responsive documents and prepare a witness to provide testimony in response to this subpoena.




                                                   5
                                                                                                   13
  Case 2:18-mc-00125 Document 1-2 Filed 09/14/18 Page 11 of 54 Page ID #:26



                                        ATTACHMENT B

                                          DEFINITIONS

          1.   “IP-Echelon,” “you,” and “your” refers to IP-Echelon Pty, Ltd., its parents,

subsidiaries, divisions, predecessors, successors, affiliates, and any present or former agent,

employee, representative, director, officer, or any other person acting or purporting to act on its

behalf.

          2.   “Grande” means Grande Communications Networks LLC, and any subsidiary,

predecessors, successors, affiliates, any present or former agent, employee, representative,

director, officer, or any other person acting or purporting to act on its behalf.

          3.   “Patriot” means Patriot Media Consulting, LLC, and any subsidiary, predecessors,

successors, affiliates, any present or former agent, employee, representative, director, officer, or

any other person acting or purporting to act on its behalf.

          4.   “Universal Plaintiffs” means the following entities: UMG Recordings, Inc.,

Capitol Records, LLC, Capitol Christian Music, Group, Inc. Fonovisa, Inc., Roc-A-Fella

Records, LLC, and Tooth & Nail, LLC), and any subsidiary, predecessors, successors, and

affiliates, and any present or former agent, employee, representative, director, officer, or any

other person acting or purporting to act on behalf of any of the Universal Plaintiffs.

          5.   “Sony Plaintiffs” means the following entities: Sony Music Entertainment, Arista

Records LLC, Arista Music, LaFace Records LLC, and Zomba Recording LLC, and any

subsidiary, predecessors, successors, and affiliates, and any present or former agent, employee,

representative director, office, or any other person acting or purporting to act on behalf of any of

the Sony Plaintiffs.

          6.   “Warner Plaintiffs” means the following entities: Warner Bros. Records Inc.,




                                                                                                   14
  Case 2:18-mc-00125 Document 1-2 Filed 09/14/18 Page 12 of 54 Page ID #:27



Atlantic Recording Corporation, Elektra Entertainment Group Inc., Fueled by Ramen LLC,

Nonesuch Records Inc., Rhino Entertainment Company, Roadrunner Records, Inc., and any

subsidiary, predecessors, successors, and affiliates, and any present or former agent, employee,

representative director, office, or any other person acting or purporting to act on behalf of any of

the Warner Plaintiffs.

        7.     “Plaintiffs” refers to any individual entity or any combination of the entities

included in the Universal Plaintiffs, the Sony Plaintiffs, and/or the Warner Plaintiffs.

        8.     “Complaint” means the Complaint (attached as Exhibit 1 to this subpoena) filed in

this action.

        9.     “And” and “or” shall be construed disjunctively or conjunctively, as necessary, so

as to have the broadest possible meaning.

        10.    Where appropriate, the singular form of a word shall be interpreted in the plural,

and vice versa, to have the broadest possible meaning.

        11.    “Including” shall be given its broad, natural meaning, and shall not be interpreted

as limiting.

        12.     “Document” means any writing or other record in any form, electronic or hard

copy, and includes all items contemplated within Rule 34 of the Federal Rules of Civil

Procedure, including without limitation writings, drawings, graphs, charts, photographs,

phonorecords, emails, and other data compilations from which information can be obtained,

translated, if necessary, by the respondent through detection devices into reasonable usable form,

as broadly construed.

        13.    “ISP” means any business or organization that is an internet service provider.

        14.    “BitTorrent” means the BitTorrent communications protocol for peer-to-peer file




                                                  2
                                                                                                   15
  Case 2:18-mc-00125 Document 1-2 Filed 09/14/18 Page 13 of 54 Page ID #:28



sharing used to distribute data and electronic files over the internet.

          15.   “Peer-to-Peer” means computer networks in which each computer can act as a

server for others, allowing shared access to files and peripherals without the need for a central

server.

          16.   “Grande Subscriber” means any account holder or subscriber of internet services

provided by Grande.

          17.   “IP-Echelon System” means the technological system that IP-Echelon uses to

monitor and extract information from Peer-to-Peer file sharing networks, as well as send notices

of alleged infringement to internet services providers.

          18.   “IP-Echelon Notice” mean the notices sent by IP-Echelon to an ISP identifying

instances of alleged infringement of copyrighted works committed by a subscriber of the ISP.

          19.   “RIAA” means Recording Industry Association of America, and any subsidiary,

predecessors, successors, affiliates, any present or former agent, employee, representative,

director, officer, or any other person acting or purporting to act on its behalf.

                                         INSTRUCTIONS

          1.    You are to search for all documents and things within your possession, custody,

or control, wherever located, including without limitation any documents or things placed in

storage facilities or within the possession, custody, or control of any agent, employee,

representative, attorney, investigator, or other person acting or purporting to act on your behalf

(whether located at his or her residence or place of business) to fully respond to the requests.

          2.    Each request shall be deemed to call for the production of legible copies of the

original document(s) or things(s) responsive to each request. Original documents and things

shall be made available for inspection upon request. In addition, any copy of a document or




                                                  3
                                                                                                     16
  Case 2:18-mc-00125 Document 1-2 Filed 09/14/18 Page 14 of 54 Page ID #:29



thing shall be produced if it differences in any respect from the original (i.e. by reason of

handwritten notes, comments, marginalia or any addition or deletion to the copy which does not

appear on the original).

        3.     If you object to any request, state the ground(s) of the objection with sufficient

specificity to permit the determination of the basis(es) for such objections. Objection to a

portion of any request does not relieve you of the duty to respond to the parts that you do not

object to.

        4.     If a privilege or immunity is claimed with respect to any document or thing

required by these requests, you shall provide a “Privilege Log” pursuant to Rule 26(b)(5) of the

Federal Rules of Civil Procedure including the following information regarding such document:

        (A)     the identification of the document by author and title or, if untitled, the general

                nature of the document (e.g. memorandum, handwritten note, report, etc.);

         (B)    the date on which the document was created;

         (C)    a brief summary of the subject matter to which the document relates;

         (D)    the identities of persons who received the documents;

         (E)    the precise legal grounds upon which the claim of privilege or immunity is made;

                and

         (F)    any further information necessary for Grande to assess the applicability of the

                privilege.

        5.     You should label the documents produced to correspond to the document

request to which the documents are responsive.

        6.     If a document requested was, but is no longer, in your possession, custody, or

control, you should state whether the document: (1) is missing or lost; (2) has been destroyed;




                                                  4
                                                                                                      17
  Case 2:18-mc-00125 Document 1-2 Filed 09/14/18 Page 15 of 54 Page ID #:30



(3) has been transferred, voluntarily or involuntarily, to others; or (4) has otherwise been

disposed of. For each instance, explain the circumstances surrounding such disposition, the

date or approximate date of such disposition, and the names and residences and business

addresses of those persons with knowledge of such circumstances.

       7.      These requests are propounded on a continuing basis, and you shall promptly

supplement your responses hereto as and when additional documents called for herein come

to your attention.

                                REQUESTS FOR DOCUMENTS

       1.      Documents and communications that refer or relate to agreements between you

and the RIAA or any Plaintiff that pertain to Grande, Patriot, or this lawsuit, including but not

limited to any agreement relating to use of evidence in a legal proceeding and any agreements

relating to payment or remuneration derived from an award obtained by the RIAA or Plaintiffs in

a legal proceeding.

       2.      Documents that refer or relate to communications between you and the RIAA or

any of the Plaintiffs concerning Grande, Patriot, and/or Grande Subscribers.

       3.      Documents that refer or relate to the considerations that informed your decision(s)

to send (and continue sending) IP-Echelon Notices to Grande.

       4.      Documents that refer or relate to the ability of the IP-Echelon to observe or detect

infringement over Peer-to-Peer file sharing networks.

       5.      Documents that refer, relate to, or constitute marketing materials, business plans,

whitepapers, product manuals and specifications, and other materials that describe the features,

functionality, capabilities, and operation of the IP-Echelon System.




                                                  5
                                                                                                    18
  Case 2:18-mc-00125 Document 1-2 Filed 09/14/18 Page 16 of 54 Page ID #:31



       6.      Documents that refer or relate to negative feedback or criticism of the IP-Echelon

System and/or IP-Echelon Notices.

       7.      Documents that refer or relate to flaws, weaknesses, deficiencies, inefficiencies,

errors, lack or absence of features or functionality, performance issues, modifications or

improvements needed, or any other problem associated with the IP-Echelon System.

       8.      Documents that refer or relate to actual, potential, or alleged problems,

limitations, or flaws concerning the IP-Echelon System’s ability to detect copyright infringement.

       9.      Documents that refer or relate to legal and/or factual issues, deficiencies, or

inaccuracies identified by ISPs regarding IP-Echelon Notices or the ability of the IP-Echelon

System to detect copyright infringement.

       10.     Documents that refer or relate to efforts or actions taken by IP-Echelon to address

or remedy any inaccuracies or deficiencies associated with IP-Echelon Notices.

       11.     Documents reflecting IP-Echelon’s communications with or regarding Rightscorp,

Inc.

       12.     Documents reflecting communications with the RIAA or its members concerning

the accuracy, viability, errors, or problems of or with the IP-Echelon System and/or IP-Echelon

Notices.

       13.     Documents relating to or reflecting communications between IP-Echelon and

TorrentFreak.com (including but not limited to Ernesto Van der Sar) regarding fake or spoofed

infringement notices, including those reflected in the June 24, 2016 article

(https://torrentfreak.com/piracy-phishing-scam-targets-u-s-isps-subscribers-160624/), attached as

Exhibit 1 hereto.




                                                 6
                                                                                                    19
  Case 2:18-mc-00125 Document 1-2 Filed 09/14/18 Page 17 of 54 Page ID #:32



       14.     Documents relating to or reflecting IP-Echelon’s knowledge of fake or spoofed

infringement notices, including but not limited to fake or spoofed IP-Echelon Notices such as the

notice reflected in Exhibit 1, and any investigation(s) into such notices.

       15.     Documents relating to or reflecting IP-Echelon’s use of digital signatures using

the PGP protocol on IP-Echelon Notices and the reasons for their use, including but not limited

to the statement in Exhibit 1 (“IPE notices are signed with PGP for ISPs to check authenticity”).




                                                 7
                                                                                                  20
012213425                         6789
ÿ6771-2
              Case 2:18-mc-00125 Document         ÿ
9ÿFiled
                                                        98ÿ09/14/18
                                                                ÿ6ÿ9ÿ
8718
                                                                               Page    8ÿÿof
                                                                                             8854
                                                                                                 89Page
                                                                                                        ID #:33
                &'(ÿ*+ÿ,--ÿ./0+12'03                                                                   98
4                      ÿ5

                607/8ÿ97:8;18ÿ621<'=3+


                                                                                                                                  WZY6¿À[Á

                 ABCDEFÿAHBIHBJKÿLEDMÿNDCKOPIÿQRLRÿSLAIÿDJT
                 LUVIECBVOCI
                 WXÿYZ[Y.&, ÿ,[ÿ\*[Yÿ]^_ÿ]`ab                                                                                     9>ÿ?@
                 cdÿfghijkhlfÿmnokhpqmÿnrosrodtÿjnfkhlojdÿosÿlhktflodtÿuvwvÿxdlfkdflÿnkjyozfksÿhdzÿs{ispkoifksvÿwph||fksÿhkf
                 {sodtÿlrfÿdh|fÿj}ÿhdlo~nokhpqÿlkhpodtÿpj|nhdqÿx~prfgjdÿhdzÿkotrlsrjgzfksÿs{prÿhsÿojdsthlfÿljÿsfdz
                 }hfÿcÿdjlopfsÿhdzÿsfllgf|fdlÿzf|hdzsÿljÿxwsvÿuvwvÿghÿfd}jkpf|fdlÿrhsÿiffdÿdjlofzÿhdzÿos
                 p{kkfdlgqÿodyfslothlodtÿlrfÿ|hllfkv
                 ÿÿÿÿÿÿÿÿÿÿ
                  ÿ¡ÿÿÿÿÿ¢ÿ£ÿ
                 £ÿÿÿÿÿÿÿ¤¥ ¦
                 §ÿÿ¨©ªÿ¡©«ÿÿÿÿ¢ÿ¬ÿ¥ÿÿÿ£
                 ÿÿ¢ÿÿÿÿÿÿ­ 
                 ¡¢ÿÿÿÿÿ¢ÿÿ®ÿÿÿÿÿ¨¯ÿ£ÿ°ÿ
                 ÿÿÿÿ°ÿÿÿ± ÿ²ÿÿ°ÿÿ£ÿÿÿÿ¢ÿÿÿ
                 ³´µ¶ÿÿ° 
                 ¡ÿ·ÿÿ·ÿÿÿ®ÿÿÿ¢ÿÿ¸¹¬©ÿÿ¢ÿÿÿÿ
                  
                 ºÿÿÿ¸¹¬©ÿÿ®»ÿÿÿ°°£ÿÿÿÿÿÿÿ
                 ÿÿÿ°ÿÿÿÿ£ÿÿÿÿÿÿÿ¸¼¹ÿ° 
                 ¤¡ÿÿÿ°¢ÿÿÿÿÿ ÿ¸»ÿÿÿ£¦ÿ¸¹¬©ÿ°ÿ¡¢ 
                 ÿÿÿÿÿ°¢ÿ½¾¨±ÿÿÿÿ­ÿ ÿ±ÿ¥ÿÿÿÿÿÿÿ£ÿÿ°ÿ¨¯
                 ¨ÿÿÿÿÿÿ°ÿÿÿÿ 
                                                                                        ÿ
                                                                             ÿ



                                                           &9)*#*5

                                                                                                                             21
!1188"89
1789
77
9987
8782#4#3$1                                                            21%
012213425                         6789
ÿ6771-2
              Case 2:18-mc-00125 Document         ÿ
9ÿFiled
                                                        98ÿ09/14/18
                                                                ÿ6ÿ9ÿ
8719
                                                                               Page    8ÿÿof
                                                                                             8854
                                                                                                 89Page
                                                                                                        ID #:34




                 &'ÿ)*ÿ&+,ÿ-.ÿ'//0123ÿ451ÿ61.4ÿ/'ÿ451ÿ.7)8ÿ-.ÿ191*ÿ8/61ÿ7/*9-*7-*:3ÿ.-*71ÿ;/<ÿ451*ÿ461)4.ÿ451ÿ18)-0ÿ).ÿ)ÿ61:=0)6ÿ>?;@
                 4)A12/B*ÿ*/4-71CÿD5-.ÿ81)*.ÿ45)4ÿ451Eÿ'/6B)62ÿ-4ÿ4/ÿ451-6ÿ7=.4/816.ÿ'6/8ÿ)*ÿ/F7-)0ÿ;/<ÿ)2261..C
                 &*ÿ61)0-4E3ÿ5/B19163ÿ451ÿ-GH17510/*C61G/64ÿ2/8)-*ÿ-.*I4ÿ/B*12ÿJEÿ&,HK7510/*ÿ)*2ÿ451ÿ.1440181*4ÿ8/*1Eÿ:/1.ÿ2-61740E
                 4/ÿ451ÿG5-.516.C
                 &,HK7510/*ÿ)*2ÿ-4.ÿ70-1*4.ÿ)61ÿ*/4ÿ5)GGEÿB-45ÿ5)9-*:ÿ451-6ÿ*)81.ÿ1<G0/-412ÿ-*ÿ45-.ÿ4EG1ÿ/'ÿ.7)8CÿD51Eÿ)61ÿ)B)61ÿ/'
                 451ÿ-..=1ÿ)*2ÿ-*'/68ÿ=.ÿ45)4ÿLC+Cÿ0)Bÿ1*'/67181*4ÿ-.ÿ7=661*40Eÿ0//A-*:ÿ-*4/ÿ451ÿ8)4416C
                 ?1)*B5-013ÿ451Eÿ.=::1.4ÿ45)4ÿ&+,.ÿ7)61'=00Eÿ7517Aÿ451ÿ,M,ÿ.-:*)4=61ÿJ1'/61ÿ'/6B)62-*:ÿ)*Eÿ*/4-71.ÿ4/ÿ451-6
                 7=.4/816.C
                 ND51ÿ7).1ÿ-.ÿJ1-*:ÿ-*91.4-:)412ÿJEÿL+ÿ0)Bÿ1*'/67181*4Cÿ&,Kÿ*/4-71.ÿ)61ÿ.-:*12ÿB-45ÿ,M,ÿ'/6ÿ&+,.ÿ4/ÿ7517A
                 )=451*4-7-4E3Oÿ&,HK7510/*ÿ.)-2C
                 P*1ÿ;/<ÿ.=J.76-J16ÿB5/ÿ6171-912ÿ)ÿ*/4-71ÿ-*Q=-612ÿ)J/=4ÿ451ÿ8)4416ÿ-*ÿ451ÿ&+,I.ÿ.=GG/64ÿ'/6=8.Cÿ+51ÿ.)E.ÿ.51ÿ2-2*I4
                 2/B*0/)2ÿ451ÿ8/9-1ÿ-*ÿQ=1.4-/*3ÿ)*2ÿB/*216.ÿ-'ÿ-4ÿ7/=02ÿJ1ÿ)ÿ.7)8C
                 N&ÿA*/BÿE/=6ÿ18)-03ÿ-'ÿ61)03ÿ.)-2ÿ*/4ÿ4/ÿ7/*4)74ÿE/=ÿJ=4ÿ&ÿ)8ÿ*/4ÿ.=61ÿB5)4ÿ4/ÿ2/Cÿ&ÿ2/*I4ÿB)*4ÿ4/ÿ:-91ÿ-*4/ÿ)ÿ.7)8ÿ/6ÿ-'
                 61)0ÿG)Eÿ'/6ÿ./8145-*:ÿ&ÿ2-2*I4ÿ2/3Oÿ451ÿ.=J.76-J16ÿB6-41.C
                 &*ÿ61.G/*.13ÿ)ÿ;/<ÿ61G61.1*4)4-91ÿ7/*R6812ÿ45)4ÿ451ÿ18)-0ÿ-.ÿ61)0ÿ)*2ÿ1<G0)-*12ÿ45)4ÿ-4ÿB).ÿ'/6B)6212ÿJEÿ451
                 *14B/6Aÿ.17=6-4Eÿ41)8Cÿ@GG)61*40E3ÿ451ÿG5-.5-*:ÿ.7)8ÿB).ÿ://2ÿ1*/=:5ÿ4/ÿ5)91ÿ451ÿ.17=6-4Eÿ1<G164.ÿ'//012C
                                                                                                                                22
!1188"89
1789
77
9987
8782#4#3$1                                                               31%
012213425                         6789
ÿ6771-2
              Case 2:18-mc-00125 Document         ÿ
9ÿFiled
                                                        98ÿ09/14/18
                                                                ÿ6ÿ9ÿ
8720
                                                                               Page    8ÿÿof
                                                                                             8854
                                                                                                 89Page
                                                                                                        ID #:35
                 &'(()*+,()-.ÿ-0)(+)1ÿ2'3ÿ+'ÿ+4)ÿ5-.)ÿ*'+67)8ÿ9:+ÿ-+ÿ+4)ÿ+6;)ÿ'5ÿ<(6+6*=ÿ<)ÿ4->)ÿ?)+ÿ+'ÿ()7)6>)ÿ-ÿ()8@'*8)AÿB4)+4)(
                 -*?ÿ'+4)(ÿCDE8ÿ4->)ÿ5-00)*ÿ5'(ÿ+4)ÿ8-;)ÿ87-;ÿ68ÿ:*.*'<*ÿ-+ÿ+468ÿ@'6*+A
                 C+F8ÿ6('*67ÿ+4-+ÿ2'3ÿ68ÿ=)++6*=ÿ7-:=4+ÿ:@ÿ6*ÿ+468Aÿ&4)ÿCDEÿ@()>6':8ÿ()5:8)1ÿ+'ÿ5'(<-(1ÿ+4)8)ÿ+?@)ÿ'5ÿ*'+67)8Gÿ)>)*ÿ0)=6+
                 '*)8Gÿ+'ÿ6+8ÿ7:8+';)(8AÿH'<)>)(Gÿ+468ÿ@'067?ÿ<-8ÿ()>)(8)1ÿ-5+)(ÿ+4)?ÿ0'8+ÿ+4)6(ÿ7':(+ÿ7-8)ÿ-=-6*8+ÿIJKÿ0-+)ÿ0-8+ÿ?)-(A
                 C*ÿ-*?ÿ7-8)GÿC*+)(*)+ÿ8:987(69)(8ÿ<4'ÿ()7)6>)ÿ-ÿ8)++0);)*+ÿ1);-*1ÿ5(';ÿCELM74)0'*Gÿ<4)+4)(ÿ6+F8ÿ5'(ÿN6'*8=-+)ÿ'(
                 -*'+4)(ÿ7'@?(6=4+ÿ4'01)(Gÿ84':01ÿ-0)(+ÿ+4)6(ÿCDE8ÿ+'ÿ+468ÿ@46846*=ÿ87-;A
                 OPQQRSÿUVW
                 PXXRQUPVYGÿUZÿR[\RX]VGÿ^U]V_`PYR

                    abcbdÿefgO                                                                                              f^hbdÿefgO




                                                                                                                                23
!1188"89
1789
77
9987
8782#4#3$1                                                              %1%
         Case 1:17-cv-00365-LY
  Case 2:18-mc-00125   Document Document
                                1-2 Filed 109/14/18
                                              Filed 04/21/17
                                                      Page 21 Page
                                                              of 54 1 Page
                                                                      of 21 ID #:36



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION



  UMG RECORDINGS, INC., CAPITOL                  §
  RECORDS, LLC, WARNER BROS.                     §
  RECORDS INC., SONY MUSIC                       §
  ENTERTAINMENT, ARISTA                          §
  RECORDS LLC, ARISTA MUSIC,                     §
  ATLANTIC RECORDING                             §
  CORPORATION, CAPITOL                           §
  CHRISTIAN MUSIC GROUP, INC.,                   §
  ELEKTRA ENTERTAINMENT GROUP                    §
  INC., FONOVISA, INC., FUELED BY                §
                                                 §                       Civil Action No. 1:17-cv-365
  RAMEN LLC, LAFACE RECORDS
  LLC, NONESUCH RECORDS INC.,                    §
                                                 §                       Jury Trial Demanded
  RHINO ENTERTAINMENT
  COMPANY, ROADRUNNER                            §
  RECORDS, INC., ROC-A-FELLA                     §
  RECORDS, LLC, TOOTH & NAIL, LLC,               §
  and ZOMBA RECORDING LLC,                       §
                                                 §
           Plaintiffs,                           §
                                                 §
  vs.                                            §
                                                 §
  GRANDE COMMUNICATIONS                          §
  NETWORKS LLC                                   §
  and                                            §
  PATRIOT MEDIA CONSULTING, LLC                  §
                                                 §
           Defendants


                            PLAINTIFFS’ ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

          Plaintiffs file their Original Complaint against Defendants and would respectfully show

the Court as follows:




1428389
                                                                                                24
         Case 1:17-cv-00365-LY
  Case 2:18-mc-00125   Document Document
                                1-2 Filed 109/14/18
                                              Filed 04/21/17
                                                      Page 22 Page
                                                              of 54 2 Page
                                                                      of 21 ID #:37



                                      I. INTRODUCTION

          1.   This is a case about the ongoing infringement of Plaintiffs’ copyrights by Grande

Communications Networks LLC (“Grande”), its management company Patriot Media

Consulting, LLC (“Patriot,” and together with Grande, “Defendants”), and its internet service

users, and Defendants’ failure and refusal to prevent these users from repeatedly infringing those

copyrights.

          2.   Plaintiffs are record companies that produce, manufacture, distribute, sell, and

license the great majority of all legitimate commercial sound recordings in this country.

          3.   Defendant Grande is a Texas Internet Service Provider (“ISP”) that provides

internet services to customers in Austin, Dallas, San Antonio, and other locations throughout the

state. Defendant Patriot is a company that has provided, and continues to provide, management

services to Grande.

          4.   Defendants have been notified that their internet customers have engaged in more

than one million infringements of copyrighted works over BitTorrent systems (as described

herein), including tens of thousands of blatant infringements by repeat infringers of Plaintiffs’

copyrighted works. Despite their knowledge of repeat infringements, Defendants have permitted

repeat infringers to use the Grande service to continue to infringe Plaintiffs’ copyrights without

consequence. Upon information and belief, neither Grande nor its management company Patriot

has taken any meaningful action to discourage this continuing theft, let alone suspend or

terminate subscribers who repeatedly commit copyright infringement through its network, as

required by law. Upon information and belief, this is so even where Defendants have specific

and actual knowledge of those subscribers’ blatant, repeat infringement.

          5.   Upon information and belief, Defendants’ policy of refusing to take meaningful

action against repeat infringers protects a significant revenue stream that Grande receives every


                                                2
1428389                                                                                        25
         Case 1:17-cv-00365-LY
  Case 2:18-mc-00125   Document Document
                                1-2 Filed 1  Filed 04/21/17
                                          09/14/18   Page 23 Page
                                                             of 54 3 Page
                                                                     of 21 ID #:38



month from its many infringing subscribers.         Defendants’ effective acquiescence in this

wholesale violation of Plaintiffs’ rights, coupled with their failure to adopt and reasonably

implement a policy to stop repeat infringers, excludes Defendants from the safe harbor

protections of the Digital Millennium Copyright Act (“DMCA”). As a result, Defendants’

knowledge of repeat infringements by identified subscribers occurring on Grande’s service,

along with their material contribution to, participation in, enablement of, and profiting from such

infringement, renders Defendants liable for contributory and vicarious copyright infringement,

and inducement of copyright infringement.

          6.   Plaintiffs invest significant amounts of money, time, and effort to discover and

develop recording artists, and to create, manufacture, advertise, promote, sell, and distribute

sound recordings embodying their performances. Defendants’ actions, including their refusal to

prevent their users’ repeat infringement of those works, have caused — and continue to cause —

Plaintiffs significant and irreparable harm. Defendants’ acts of infringement have eroded the

legitimate sales and distribution of Plaintiffs’ copyrighted sound recordings through physical and

digital channels. Plaintiffs are entitled to preliminary and permanent injunctive relief to stop

Defendants’ ongoing violation of Plaintiffs’ rights, as well as damages resulting from

Defendants’ egregious infringing conduct.

                              II. JURISDICTION AND VENUE

          7.   This is a civil action seeking damages and injunctive relief for copyright

infringement under the copyright laws of the United States, 17 U.S.C. § 101 et seq.

          8.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 (federal

question jurisdiction) and 28 U.S.C. § 1338(a) (jurisdiction over copyright actions).

          9.   This Court has personal jurisdiction over Grande because Grande resides in and

does systematic and continuous business in Texas and in this judicial district. Grande provides a


                                                3
1428389                                                                                         26
         Case 1:17-cv-00365-LY
  Case 2:18-mc-00125   Document Document
                                1-2 Filed 109/14/18
                                              Filed 04/21/17
                                                      Page 24 Page
                                                              of 54 4 Page
                                                                      of 21 ID #:39



full slate of services in Texas, including internet, TV, and phone service, among others.

Grande’s corporate headquarters are located at 401 Carlson Circle, San Marcos, Texas, within

this judicial district and division. Grande also has stores and service centers within this judicial

district and division, including one at 911 W. Anderson Lane, Suite 123, Austin, TX 78757.

          10.    This Court has personal jurisdiction over Patriot because Patriot does systematic

and continuous business in Texas and in this judicial district and division, including providing

executive and general counsel services to Grande at and through its corporate headquarters.

          11.    In addition, many of the acts complained of herein occurred in Texas and in this

judicial district. For example, many of the most egregious repeat infringers on Grande’s network

reside in Texas and in this judicial district. Plaintiffs have identified hundreds of accounts of

Grande subscribers suspected of residing in Texas who have repeatedly infringed one or more of

Plaintiffs’ copyrighted works.

          12.    Venue in this judicial district is proper under 28 U.S.C. § 1391(b)-(c), and/or 28

U.S.C. § 1400(a). A substantial part of the acts of infringement complained of herein occurs or

has occurred in this judicial district, where Grande resides or may be found.

                                     III.       THE PARTIES

A.        Plaintiffs

          13.    Plaintiff UMG Recordings, Inc. is a Delaware corporation with its principal place

of business in Santa Monica, California.

          14.    Plaintiff Capitol Records, LLC is a Delaware limited liability company with its

principal place of business in Santa Monica, California.

          15.    Plaintiff Warner Bros. Records Inc. is a Delaware corporation with its principal

place of business in Burbank, California.




                                                 4
1428389                                                                                          27
         Case 1:17-cv-00365-LY
  Case 2:18-mc-00125   Document Document
                                1-2 Filed 109/14/18
                                              Filed 04/21/17
                                                      Page 25 Page
                                                              of 54 5 Page
                                                                      of 21 ID #:40



          16.   Plaintiff Sony Music Entertainment is a Delaware partnership with its principal

place of business in New York, New York.

          17.   Plaintiff Arista Records LLC is a Delaware limited liability company with its

principal place of business in New York, New York.

          18.   Plaintiff Arista Music is a New York partnership with its principal place of

business in New York, New York.

          19.   Plaintiff Atlantic Recording Corporation is a Delaware corporation with its

principal place of business in New York, New York.

          20.   Plaintiff Capitol Christian Music Group, Inc. is a California corporation with its

principal place of business in Santa Monica, California.

          21.   Plaintiff Elektra Entertainment Group Inc. is a Delaware corporation with its

principal place of business in New York, New York.

          22.   Plaintiff Fonovisa, Inc. is a California corporation with its principal place of

business in Santa Monica, California.

          23.   Plaintiff Fueled by Ramen LLC is a Delaware limited liability company with its

principal place of business in New York, New York.

          24.   Plaintiff LaFace Records LLC is a Delaware limited liability company with its

principal place of business in New York, New York.

          25.   Plaintiff Nonesuch Records Inc. is a Delaware corporation with its principal place

of business in New York, New York.

          26.   Plaintiff Rhino Entertainment Company is a Delaware corporation with its

principal place of business in Burbank, California.




                                                5
1428389                                                                                        28
         Case 1:17-cv-00365-LY
  Case 2:18-mc-00125   Document Document
                                1-2 Filed 109/14/18
                                              Filed 04/21/17
                                                      Page 26 Page
                                                              of 54 6 Page
                                                                      of 21 ID #:41



          27.   Plaintiff Roadrunner Records, Inc. is a New York corporation with its principal

place of business in New York, New York.

          28.   Plaintiff Roc-A-Fella Records, LLC is a New York limited liability company,

with its principal place of business in New York, New York.

          29.   Plaintiff Tooth & Nail, LLC is Delaware corporation with its principal place of

business in Santa Monica, California.

          30.   Plaintiff Zomba Recording LLC is a Delaware limited liability company with its

principal place of business in New York, New York.

          31.   Plaintiffs UMG Recordings, Inc., Capitol Records, LLC, Warner Bros. Records

Inc., Sony Music Entertainment, Arista Records LLC, Arista Music, Atlantic Recording

Corporation, Capitol Christian Music Group, Inc., Elektra Entertainment Group Inc., Fonovisa,

Inc., Fueled by Ramen LLC, LaFace Records LLC, Nonesuch Records Inc., Rhino Entertainment

Company, Roadrunner Records, Inc., Roc-A-Fella Records, LLC, Tooth & Nail, LLC, and

Zomba Recording LLC are collectively referred to herein as “Plaintiffs.”

B.        Defendants

          32.   Upon information and belief, Grande is a limited liability company organized and

existing under the laws of the State of Delaware, with its headquarters at 401 Carlson Circle, San

Marcos, TX 78666.

          33.   Upon information and belief, Patriot is a limited liability company organized and

existing under the laws of the State of New Jersey, with its headquarters at 650 College Road

East, Suite 3100, Princeton, NJ 08540.        Patriot has provided, and continues to provide,

management services to Grande.




                                                6
1428389                                                                                        29
         Case 1:17-cv-00365-LY
  Case 2:18-mc-00125   Document Document
                                1-2 Filed 109/14/18
                                              Filed 04/21/17
                                                      Page 27 Page
                                                              of 54 7 Page
                                                                      of 21 ID #:42



                            IV.         FACTUAL BACKGROUND

                         Plaintiffs’ Extensive and Valuable Copyrights

          34.   Plaintiffs are the copyright owners of, or owners of exclusive rights with respect

to, the great majority of copyrighted sound recordings sold in the United States, including sound

recordings embodying the performances of some of the most popular and successful recording

artists of all time, from Aerosmith to ZZ Top, Michael Jackson to Pink Floyd, Kanye West to

Tony Bennett, Rihanna to Carrie Underwood, and many more. Plaintiffs have invested, and

continue to invest, significant money, time, effort, and creative talent to create, promote, sell, and

license their sound recordings.

          35.   Plaintiffs distribute and sell their sound recordings in the form of CDs and other

tangible media throughout the United States, including in Texas. Plaintiffs also sell, distribute,

publicly perform and/or license their sound recordings in the form of digital audio files through

legitimate and authorized digital services, such as iTunes, Amazon, Apple Music, Napster

(formerly Rhapsody), and Spotify, which are available throughout the United States, including in

Texas.

          36.   Under the Copyright Act, Plaintiffs have the exclusive rights, among other things,

to “reproduce the copyrighted work[s],” to “distribute copies or phonorecords of the copyrighted

work[s] to the public,” to “perform the copyrighted work publicly by means of a digital audio

transmission,” as well as to authorize or license such activities. 17 U.S.C. § 106.

          37.   A non-exhaustive, illustrative list of Plaintiffs’ federally copyrighted sound

recordings that Defendants have illegally reproduced, distributed, and/or publicly performed for

their users is attached hereto as Exhibit A (the “Copyrighted Sound Recordings”). Plaintiffs

have received Certificates of Copyright Registration from the Register of Copyrights for each of




                                                  7
1428389                                                                                            30
         Case 1:17-cv-00365-LY
  Case 2:18-mc-00125   Document Document
                                1-2 Filed 109/14/18
                                              Filed 04/21/17
                                                      Page 28 Page
                                                              of 54 8 Page
                                                                      of 21 ID #:43



these Copyrighted Sound Recordings and/or have submitted complete applications for such

registrations to the Copyright Office.

                Copyright Infringement Accomplished Over BitTorrent Systems

          38.   Massive online infringement of copyrighted music and other digital works is a

significant problem for the record industry, as well as for other content-owning industries.

Historically, infringement occurred largely by an internet user downloading an entire

copyrighted work from a website.         Then peer-to-peer (P2P) services, such as Napster and

Grokster, enabled internet users to obtain copyrighted works directly from another internet user,

limiting the effectiveness of measures taken against websites hosting copyrighted works for

download on the internet. Now infringement frequently occurs over BitTorrent networks that

distribute the copyrighted works in small pieces using many users’ computers working together.

BitTorrent systems allow users to join a “swarm” of collaborating host computers to download

and upload copyrighted works from each other simultaneously.           When a file is requested,

BitTorrent software identifies multiple computers hosting the identical file, takes small pieces of

the requested file from each of those host computers, and downloads them simultaneously onto

the requester’s computer where they will be reassembled into one file. These pieces become

immediately available for further distribution and download to other infringing users.

          39.   BitTorrent allows large files, such as entire catalogs of recordings, to be

transferred quickly and efficiently, all for free and without authorization from the owner of that

content. Moreover, the BitTorrent systems are designed so that the more files a user offers for

download to others, the faster the user’s own downloads become. In this manner, BitTorrent

systems reward the users who make the most copyrighted works available for download. This

results in a much more efficient system for unauthorized copying – speeding up the process and




                                                 8
1428389                                                                                         31
         Case 1:17-cv-00365-LY
  Case 2:18-mc-00125   Document Document
                                1-2 Filed 109/14/18
                                              Filed 04/21/17
                                                      Page 29 Page
                                                              of 54 9 Page
                                                                      of 21 ID #:44



shrinking the internet connection bandwidth for uploading and downloading. In a 2013 report,

NetNames estimated that 99.97% of non-pornographic files distributed by BitTorrent systems

infringe copyrights, and there is no evidence that this figure has changed since.

          40.   The Copyright Act of 1976 (“Copyright Act”) imposes liability not only on those

that directly infringe copyrights, but also on those that induce or contribute to such infringement,

or are vicariously liable for its occurrence. This is the case whether the infringement pertains to

physical product or digital files over the internet.

          41.   When infringement occurs via the use of services provided by ISPs, the DMCA

offers a safe harbor from secondary copyright infringement liability to innocent ISPs that satisfy

certain statutory conditions. As a threshold matter, to be eligible for the safe harbor, an ISP is

required, among other things, to adopt and reasonably implement a policy that provides for the

termination of subscribers and account holders that are repeat copyright infringers.

          42.   As noted above, Plaintiffs are well-known record companies. They are in the

business of producing, manufacturing, distributing, selling, licensing, and facilitating the

distribution, sale, public performance, and other authorized uses of sound recordings (i.e.,

recorded music) to which they own or control exclusive rights in copyright in the United States.

The considerable artistic quality of Plaintiffs’ sound recordings is well-known in Texas, and

throughout the United States and the world.

          43.   In an effort to combat the massive pirating of their copyrighted works, certain

rights holders have engaged Rightscorp, Inc. (“Rightscorp”).         Rightscorp has developed a

technological system that identifies actual infringements and the perpetrators of these

infringements (by IP address, port number, time, and date). It does so by monitoring BitTorrent

systems and extracting information about the infringing activity, including, inter alia, the IP




                                                   9
1428389                                                                                          32
        Case 1:17-cv-00365-LY
  Case 2:18-mc-00125  DocumentDocument
                               1-2 Filed109/14/18
                                           Filed 04/21/17
                                                   Page 30Page
                                                           of 5410Page
                                                                   of 21ID #:45



address, the ISP, the infringing content, and the suspected location of the host computer

accessing BitTorrent networks. Rightscorp’s system also has the capability to acquire entire files

from the infringing host computers. Using this system, Rightscorp has notified ISPs, including

Grande, of specific instances of first-time and repeat copyright infringement committed by their

account holders and has requested that the ISPs, including Grande, notify their account holders

of these infringements.

      Defendants’ Knowledge of Extensive and Continuing Copyright Infringement by
                                 Grande’s Subscribers

          44.   Grande provides its subscribers with high-speed internet service. It claims that

“Grande Internet service provides you with an online experience that delivers unlimited access to

a wealth of resources.” See http://mygrande.com/internet. And, “with speeds up to 1 GB,

Grande offers the fastest Internet speeds in town to support your entire family online at once.”

Id. In exchange for this service, Grande charges its subscribers monthly fees ranging from

approximately $29.99 for 50 Mbps download speeds and 5 Mbps upload speeds, to

approximately $64.99 for 400 Mbps download speeds and 20 Mbps upload speeds. Id.

          45.   After purchasing high-speed internet access from Grande, subscribers can access

BitTorrent networks and upload and download copyrighted works with ease and increasing

speed, depending upon the level of Grande service that the subscribers purchase. Thus, Grande

provides its subscribers with a fully functioning system that allows them to engage in copyright

infringement on a massive scale using BitTorrent networks. And for those subscribers who want

to pirate more and larger files at faster speeds, Grande obliges them in return for higher fees.

The greater the bandwidth its subscribers require for pirating content, the more money Grande

receives.




                                               10
1428389                                                                                        33
        Case 1:17-cv-00365-LY
  Case 2:18-mc-00125  DocumentDocument
                               1-2 Filed109/14/18
                                           Filed 04/21/17
                                                   Page 31Page
                                                           of 5411Page
                                                                   of 21ID #:46



          46.   Having created and (for a monthly fee) provided its subscribers with the site and

facilities to engage in copyright infringement, Grande is required to implement a policy that

effectively addresses repeat infringers if it desires safe harbor protection under the DMCA.

However, Grande has chosen not to adopt and reasonably implement policy for preventing repeat

infringement.

          47.   Rightscorp has provided Grande with notice of specific infringers using Grande’s

internet service to infringe various copyrighted works. Rightscorp also requested that Grande

terminate the “subscribers and account holders” who are repeat infringers of copyrighted works.

Despite its knowledge of specific repeat infringers of copyrighted works, Grande apparently

refused to do so.

          48.   The notifications Grande received were based upon a software system Rightscorp

developed and employed.       This system identifies specific actual infringements of various

copyrighted works and the users of BitTorrent networks who infringe these copyrighted works.

At its most basic level, the software searches for specific copyrighted content.        When it

communicates with a host computer using BitTorrent that acknowledges it has specific

copyrighted content available for unauthorized distribution, the software will log certain

identifying information (e.g., the IP address and port number of the host computer, the date and

time the host computer offered the content, the name of the host computer's ISP, and information

about the infringing file).   Upon collecting this information, Rightscorp sends a notice of

infringement to Grande, detailing the exact nature of the infringement(s). Each notice requests

that Grande forward the notice to the corresponding Grande subscriber, because only Grande, as

the ISP, can identify and contact the account holder.         Thereafter, Grande’s network is




                                               11
1428389                                                                                       34
        Case 1:17-cv-00365-LY
  Case 2:18-mc-00125  DocumentDocument
                               1-2 Filed109/14/18
                                           Filed 04/21/17
                                                   Page 32Page
                                                           of 5412Page
                                                                   of 21ID #:47



continuously monitored to determine if the same subscriber is a repeat infringer who continues to

infringe copyrighted works. If repeat infringement is detected, Grande is further notified.

          49.   Through this process, Grande has been put on notice and informed of more than

one million infringements, and that thousands of subscriber accounts have engaged in repeated

acts of copyright infringement. Prior to the filing of this complaint, Grande received notice that

1,840 of its customers had each engaged in infringement at least one hundred times. At least

456 of Grande’s customers had generated 500 notices of infringement.              More than 208

customers each generated at least 1,000 notices of infringement.         And some of Grande’s

customers generated more than 2,000 notices of infringement each. Because Rightscorp can

only observe a small percentage of the overall activity of Grande subscribers, upon information

and belief, the infringement Rightscorp reported to Grande likely is merely a small fraction of

the infringing activity occurring over Grande’s network.

          50.   Grande has had actual and ongoing specific knowledge of the repeat

infringements by its subscribers of the Copyrighted Sound Recordings occurring through the use

of its service for years. Upon information and belief, through its role in providing management

services to Grande, Patriot, too, has actual and ongoing specific knowledge of these repeat

infringements, including as a result of Rightscorp’s notifications.

          51.   Nonetheless, Defendants have refused to take any meaningful action to

discourage this wrongful conduct, let alone suspend or terminate the accounts of repeat

infringers. The reason that Defendants have not done so is obvious – it would cause Grande to

lose revenue from the subscription fees that these infringing customers pay to Grande.

          52.   By their actions, Defendants have intentionally ignored and continue to ignore the

overwhelming evidence that provides them with actual knowledge of repeat copyright infringers




                                                12
1428389                                                                                        35
        Case 1:17-cv-00365-LY
  Case 2:18-mc-00125  DocumentDocument
                               1-2 Filed109/14/18
                                           Filed 04/21/17
                                                   Page 33Page
                                                           of 5413Page
                                                                   of 21ID #:48



on Grande’s network. Grande cannot have any meaningful, effective repeat infringer policy, let

alone one that is reasonably implemented as required by the DMCA, if it and its management

services provider, Patriot, purposefully ignore notice of repeat infringers sent from copyright

owners (through Rightscorp), who are tracking the repeat infringers on the Grande network and

providing Defendants with actual knowledge of those repeat infringers on a daily basis.

          53.   By ignoring the repeat infringement notifications and refusing to take action

against repeat infringers, Defendants have made an affirmative decision to contribute to known

copyright infringement and to continue reaping the substantial financial benefits in the form of

subscription fees and fees for higher bandwidth. Defendants’ conduct renders them ineligible for

safe harbor immunity from copyright liability under the DMCA.

          54.   Grande intentionally circumvented the DMCA’s requirements by ignoring

infringement notices and failing to take action against users it knew repeatedly and blatantly

committed copyright infringement. Thus, Grande cannot as a matter of law avail itself of the

safe harbor provided for by the DMCA, and is fully liable for these acts of infringement.

          55.   Because it provided executive and general counsel services to Grande, Patriot is

equally liable for Grande’s failure to comply with its legal responsibilities and for the copyright

infringement that resulted from those failures. Upon information and belief, Patriot’s infringing

conduct includes, among other things, formulating and implementing the business policies,

procedures, and practices that provide repeat infringers with continued internet service through

Grande, without consequence.

          56.   Defendants’ infringing conduct includes providing the facilities and products

necessary for its subscribers to commit direct infringement by delivering uninhibited access to

the internet, as well as the system and technology that allow for the storage and transmission of




                                                13
1428389                                                                                         36
        Case 1:17-cv-00365-LY
  Case 2:18-mc-00125  DocumentDocument
                               1-2 Filed109/14/18
                                           Filed 04/21/17
                                                   Page 34Page
                                                           of 5414Page
                                                                   of 21ID #:49



data constituting the infringing files that comprise the Copyrighted Sound Recordings.           In

addition to providing the site and facilities for the infringement, Defendants materially contribute

to subscribers’ direct infringement by providing continued access to account holders they know

to be repeat infringers.

          57.   Grande directly profits from repeat infringers. Grande collects significant fees

from its subscribers, and subscribers who frequently upload copyrighted content often pay higher

monthly premiums for higher bandwidth. Grande has been notified of thousands of repeat

infringers on the Grande network. Plaintiffs believe the total number of actual repeat infringers

on the Grande network not known to Plaintiffs is drastically higher.

          58.   Grande touts an internet service that provides its subscribers “with an online

experience that delivers unlimited access to a wealth of resources”-- “with speeds up to 1 GB” --

which Grande advertises as “the fastest Internet speeds in town to support your entire family

online at once.” It makes these representations while knowing that many of its subscribers use

its service for copyright infringement.     Yet it willfully takes no action to prevent repeat

infringement. By these acts and omissions, Grande induces the infringement of Plaintiffs’

copyrights by Grande’s subscribers.

          59.   Despite the continuous and frequent notifications to Defendants of specific

instances of infringement and repeat infringement committed by Grande’s subscribers, and

Defendants’ knowledge thereof, Defendants have refused to take action against any meaningful

number of Grande subscribers who are repeat infringers, and Grande continues to collect

substantial money in subscription fees from accounts of known repeat infringers. Therefore,

Defendants materially contribute to, financially benefit from, and induce the direct copyright

infringement of Grande’s subscribers.




                                                14
1428389                                                                                          37
        Case 1:17-cv-00365-LY
  Case 2:18-mc-00125  DocumentDocument
                               1-2 Filed109/14/18
                                           Filed 04/21/17
                                                   Page 35Page
                                                           of 5415Page
                                                                   of 21ID #:50



                                   V. CAUSES OF ACTION

                Count One – Secondary Copyright Infringement Against Grande
                                   17 U.S.C. § 101 et seq.

          60.   Plaintiffs repeat and reallege every allegation contained in paragraphs 1 through

59 as if fully set forth herein.

          61.   As detailed herein, users of the Grande service are engaged in repeat and

pervasive infringement of Plaintiffs’ exclusive rights to reproduce, distribute, and publicly

perform their Copyrighted Sound Recordings.

          62.   Through its conduct, Grande knowingly and intentionally induced, enticed,

persuaded, and caused its subscribers to infringe Plaintiffs’ Copyrighted Sound Recordings, and

continues to do so, including but not limited to those sound recordings listed in Exhibit A hereto,

in violation of Plaintiffs’ copyrights.

          63.   Through its activities, Grande knowingly and intentionally takes steps that are

substantially certain to result in direct infringement of Plaintiffs’ Copyrighted Sound Recordings,

and that have resulted in such direct infringement, including but not limited to the direct

infringement of those sound recordings listed in Exhibit A hereto, in violation of Plaintiffs’

copyrights.

          64.   Despite its knowledge that infringing material is made available to its subscribers

by means of the Grande service, Grande has failed to take reasonable steps to minimize the

infringing capabilities of its service.

          65.   Grande is liable as a contributory copyright infringer for the infringing acts of its

subscribers. Grande has actual and constructive knowledge of the infringing activity of its

subscribers.     Grande knowingly caused and otherwise materially contributed to these

unauthorized reproductions and distributions of Plaintiffs’ Copyrighted Sound Recordings,



                                                 15
1428389                                                                                           38
        Case 1:17-cv-00365-LY
  Case 2:18-mc-00125  DocumentDocument
                               1-2 Filed109/14/18
                                           Filed 04/21/17
                                                   Page 36Page
                                                           of 5416Page
                                                                   of 21ID #:51



including but not limited to those sound recordings listed in Exhibit A hereto, and continues to

do so.

          66.   Grande is vicariously liable for the infringing acts of its subscribers. Grande has

the right and ability to supervise and control the infringing activities that occur through the use of

its service, and at all relevant times has derived a direct financial benefit from the infringement

of Plaintiffs’ copyrights. Grande has refused to take any meaningful action to prevent the

widespread infringement by its subscribers. Indeed, the availability of music – and particularly

Plaintiffs’ music – acts as a powerful draw for users of Grande’s service, who use that service to

download infringing music files using BitTorrent protocols. Grande is therefore vicariously

liable for the unauthorized reproduction, distribution, and public performance of Plaintiffs’

Copyrighted Sound Recordings, including but not limited to those sound recordings listed in

Exhibit A hereto.

          67.   Grande’s infringement of Plaintiffs’ rights in each of their Copyrighted Sound

Recordings constitutes a separate and distinct act of infringement.

          68.   Grande’s acts of infringement are willful, intentional and purposeful, in disregard

of and indifferent to the rights of Plaintiffs.

          69.   As a direct and proximate result of Grande’s infringement of Plaintiffs’

copyrights and exclusive rights under copyright, Plaintiffs are entitled to up to the maximum

amount of statutory damages, pursuant to 17 U.S.C. § 504(c), with respect to each work

infringed, or such other amounts as may be proper under 17 U.S.C. § 504(c).

          70.   In the alternative, at Plaintiffs’ election pursuant to 17 U.S.C. § 504(b), Plaintiffs

are entitled to their actual damages, including Grande’s profits from infringement, in amounts to

be proven at trial.




                                                  16
1428389                                                                                            39
        Case 1:17-cv-00365-LY
  Case 2:18-mc-00125  DocumentDocument
                               1-2 Filed109/14/18
                                           Filed 04/21/17
                                                   Page 37Page
                                                           of 5417Page
                                                                   of 21ID #:52



          71.   Plaintiffs are entitled to their costs, including reasonable attorneys’ fees, pursuant

to 17 U.S.C. § 505.

          72.   Grande’s conduct has caused, is causing, and, unless enjoined by this Court, will

continue to cause Plaintiffs irreparable injury that cannot fully be compensated or measured in

money. Plaintiffs have no adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiffs are

entitled to a preliminary and permanent injunction prohibiting infringement of Plaintiffs’

copyrights and exclusive rights under copyright.

                Count Two – Secondary Copyright Infringement Against Patriot
                                   17 U.S.C. § 101 et seq.

          73.   Plaintiffs repeat and reallege every allegation contained in paragraphs 1 through

72 as if fully set forth herein.

          74.   As described above, users of the Grande service are engaged in repeat and

pervasive infringement of Plaintiffs’ exclusive rights to reproduce, distribute, and publicly

perform their Copyrighted Sound Recordings.

          75.   Upon information and belief, during the relevant period, Patriot was responsible

for management of Grande, including performing executive, legal, and compliance

responsibilities.

          76.   Patriot knowingly and intentionally induced, enticed, persuaded, and caused

Grande’s subscribers to infringe Plaintiffs’ copyrights in their sound recordings, and continues to

do so, including but not limited to those sound recordings listed in Exhibit A hereto, in violation

of Plaintiffs’ copyrights.

          77.   Through its management of Grande, Patriot knowingly and intentionally takes

steps that are substantially certain to result in direct infringement of Plaintiffs’ Copyrighted




                                                 17
1428389                                                                                            40
        Case 1:17-cv-00365-LY
  Case 2:18-mc-00125  DocumentDocument
                               1-2 Filed109/14/18
                                           Filed 04/21/17
                                                   Page 38Page
                                                           of 5418Page
                                                                   of 21ID #:53



Sound Recordings, including but not limited to those sound recordings listed in Exhibit A hereto,

in violation of Plaintiffs’ copyrights.

          78.   Despite its knowledge that infringing material is made available to Grande’s

subscribers by means of the Grande service, Patriot has failed to take reasonable steps to

minimize the infringing capabilities of the service.

          79.   Patriot is liable as a contributory copyright infringer for Grande subscribers’

infringing acts. Patriot has actual and constructive knowledge of Grande subscribers’ infringing

activity. Patriot knowingly caused and otherwise materially contributed to these unauthorized

reproductions and distributions of Plaintiffs’ Copyrighted Sound Recordings, including but not

limited to those sound recordings listed in Exhibit A hereto, and continues to do so.

          80.   Patriot is vicariously liable for the infringing acts of Grande’s subscribers. Patriot

has the right and ability to supervise and control the infringing activities that occur using the

Grande service, and at all relevant times has derived a direct financial benefit from the

infringement of Plaintiffs’ copyrights.     Indeed, the availability of music – and particularly

Plaintiffs’ music – acts as a powerful draw for subscribers to Grande’s service who use that

service to download infringing music files using BitTorrent protocols. Patriot has refused to take

any meaningful action to prevent the widespread infringement by Grande’s subscribers. Patriot

is therefore vicariously liable for the unauthorized reproduction, distribution, and public

performance of Plaintiffs’ Copyrighted Sound Recordings, including but not limited to those

sound recordings listed in Exhibit A hereto.

          81.   Patriot’s infringement of Plaintiffs’ rights in each of their Copyrighted Sound

Recordings constitutes a separate and distinct act of infringement.




                                                 18
1428389                                                                                            41
        Case 1:17-cv-00365-LY
  Case 2:18-mc-00125  DocumentDocument
                               1-2 Filed109/14/18
                                           Filed 04/21/17
                                                   Page 39Page
                                                           of 5419Page
                                                                   of 21ID #:54



          82.      Patriot’s acts of infringement are willful, intentional and purposeful, in disregard

of and indifferent to the rights of Plaintiffs.

          83.      As a direct and proximate result of Patriot’s infringement of Plaintiffs’ copyrights

and exclusive rights under copyright, Plaintiffs are entitled up to the maximum amount of

statutory damages, pursuant to 17 U.S.C. § 504(c), for each work infringed, or such other

amounts as may be proper under 17 U.S.C. § 504(c).

          84.      In the alternative, at Plaintiffs’ election pursuant to 17 U.S.C. § 504(b), Plaintiffs

are entitled to their actual damages, including Patriot’s profits from infringement, in amounts to

be proven at trial.

          85.      Plaintiffs are entitled to their costs, including reasonable attorneys’ fees, pursuant

to 17 U.S.C. § 505.

          86.      Patriot’s conduct has caused, is causing, and, unless enjoined by this Court, will

continue to cause, Plaintiffs irreparable injury that cannot fully be compensated or measured in

money. Plaintiffs have no adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiffs are

entitled to a preliminary and permanent injunction prohibiting infringement of Plaintiffs’

copyrights and exclusive rights under copyright.

                                 VI.         REQUEST FOR RELIEF

WHEREFORE, Plaintiffs pray for judgment against Defendants, and each of them, as follows:

                a. For statutory damages pursuant to 17 U.S.C. § 504(c), in an amount up to the

                   maximum, per infringed work, arising from Defendants’ violations of Plaintiffs’

                   rights under the Copyright Act or, in the alternative, at Plaintiffs’ election

                   pursuant to 17 U.S.C. § 504(b), Plaintiffs’ actual damages, including Defendants’

                   profits from infringement, in amounts to be proven at trial;




                                                    19
1428389                                                                                               42
        Case 1:17-cv-00365-LY
  Case 2:18-mc-00125  DocumentDocument
                               1-2 Filed109/14/18
                                           Filed 04/21/17
                                                   Page 40Page
                                                           of 5420Page
                                                                   of 21ID #:55



             b. For a preliminary and permanent injunction enjoining Defendants and their

                 respective officers, agents, servants, employees, attorneys, successors, licensees,

                 partners, and assigns, and all persons acting in concert or participation with each

                 or any of them, (1) from directly or indirectly infringing in any manner any of

                 Plaintiffs’ respective copyrights or other exclusive rights (whether now in

                 existence or hereafter created), including without limitation, copyrights or

                 exclusive rights under copyright in the Copyrighted Sound Recordings, (2) from

                 causing, contributing to, enabling, facilitating, or participating in the infringement

                 of any of Plaintiffs' respective copyrights or other exclusive rights (whether now

                 in existence or hereafter created), including without limitation, copyrights or

                 exclusive rights under copyright in the Copyrighted Sound Recordings, and (3) to

                 promptly send infringement notices to Grande’s infringing subscribers.

             c. For prejudgment and post-judgment interest according to law;

             d. For Plaintiffs’ attorneys’ fees, and full costs and disbursements in this action; and

             e. For such other and further relief as the Court may deem proper and just.

                                      VII.       JURY DEMAND

          Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs respectfully demand trial by

jury of all issues triable by right of jury.



Dated: April 21, 2017
                                                Respectfully submitted,

                                          By:   /s/ Daniel C. Bitting
                                                 Daniel C. Bitting
                                                 State Bar No. 02362480
                                                 Paige A. Amstutz
                                                 State Bar No. 00796136



                                                   20
1428389                                                                                             43
        Case 1:17-cv-00365-LY
  Case 2:18-mc-00125  DocumentDocument
                               1-2 Filed109/14/18
                                           Filed 04/21/17
                                                   Page 41Page
                                                           of 5421Page
                                                                   of 21ID #:56



                                     Scott Douglass & McConnico LLP
                                     303 Colorado Street, Suite 2400
                                     Austin, TX 78701
                                     Telephone: (512) 495-6300
                                     Facsimile: (512) 495-6399
                                     dbitting@scottdoug.com
                                     pamstutz@scottdoug.com

                                     Pat A. Cipollone, P.C. (pro hac vice forthcoming)
                                     Jonathan E. Missner (pro hac vice forthcoming)
                                     Robert B. Gilmore (pro hac vice forthcoming)
                                     Philip J. O’Beirne (pro hac vice forthcoming)
                                     Stein Mitchell Cipollone Beato & Missner LLP
                                     1100 Connecticut Avenue, NW Suite 1100
                                     Washington, DC 20036
                                     Telephone: (202) 737-7777
                                     Facsimile: (202) 296-8312
                                     pcipollone@steinmitchell.com
                                     jmissner@steinmitchell.com
                                     rgilmore@steinmitchell.com
                                     pobeirne@steinmitchell.com

                                     Attorneys for Plaintiffs




                                       21
1428389                                                                                  44
      Case 1:17-cv-00365-LY
Case 2:18-mc-00125  DocumentDocument
                             1-2 Filed41  Filed 08/14/17
                                       09/14/18          Page
                                                 Page 42 of 54 1Page
                                                                 of 13ID #:57




                                                                            45
      Case 1:17-cv-00365-LY
Case 2:18-mc-00125  DocumentDocument
                             1-2 Filed41  Filed 08/14/17
                                       09/14/18          Page
                                                 Page 43 of 54 2Page
                                                                 of 13ID #:58




                                                                            46
      Case 1:17-cv-00365-LY
Case 2:18-mc-00125  DocumentDocument
                             1-2 Filed41  Filed 08/14/17
                                       09/14/18          Page
                                                 Page 44 of 54 3Page
                                                                 of 13ID #:59




                                                                            47
      Case 1:17-cv-00365-LY
Case 2:18-mc-00125  DocumentDocument
                             1-2 Filed41  Filed 08/14/17
                                       09/14/18          Page
                                                 Page 45 of 54 4Page
                                                                 of 13ID #:60




                                                                            48
      Case 1:17-cv-00365-LY
Case 2:18-mc-00125  DocumentDocument
                             1-2 Filed41  Filed 08/14/17
                                       09/14/18          Page
                                                 Page 46 of 54 5Page
                                                                 of 13ID #:61




                                                                            49
      Case 1:17-cv-00365-LY
Case 2:18-mc-00125  DocumentDocument
                             1-2 Filed41  Filed 08/14/17
                                       09/14/18          Page
                                                 Page 47 of 54 6Page
                                                                 of 13ID #:62




                                                                            50
      Case 1:17-cv-00365-LY
Case 2:18-mc-00125  DocumentDocument
                             1-2 Filed41  Filed 08/14/17
                                       09/14/18          Page
                                                 Page 48 of 54 7Page
                                                                 of 13ID #:63




                                                                            51
      Case 1:17-cv-00365-LY
Case 2:18-mc-00125  DocumentDocument
                             1-2 Filed41  Filed 08/14/17
                                       09/14/18          Page
                                                 Page 49 of 54 8Page
                                                                 of 13ID #:64




                                                                            52
      Case 1:17-cv-00365-LY
Case 2:18-mc-00125  DocumentDocument
                             1-2 Filed41  Filed 08/14/17
                                       09/14/18          Page
                                                 Page 50 of 54 9Page
                                                                 of 13ID #:65




                                                                            53
     Case 1:17-cv-00365-LY
Case 2:18-mc-00125  DocumentDocument
                             1-2 Filed4109/14/18
                                           Filed 08/14/17
                                                   Page 51 Page
                                                           of 54 10Page
                                                                    of 13ID #:66




                                                                               54
     Case 1:17-cv-00365-LY
Case 2:18-mc-00125  DocumentDocument
                             1-2 Filed4109/14/18
                                           Filed 08/14/17
                                                   Page 52 Page
                                                           of 54 11Page
                                                                    of 13ID #:67




                                                                               55
     Case 1:17-cv-00365-LY
Case 2:18-mc-00125  DocumentDocument
                             1-2 Filed4109/14/18
                                           Filed 08/14/17
                                                   Page 53 Page
                                                           of 54 12Page
                                                                    of 13ID #:68




                                                                               56
     Case 1:17-cv-00365-LY
Case 2:18-mc-00125  DocumentDocument
                             1-2 Filed4109/14/18
                                           Filed 08/14/17
                                                   Page 54 Page
                                                           of 54 13Page
                                                                    of 13ID #:69




                                                                               57
